Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 1 of 10




                  EXHIBIT 11
                   Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 2 of 10
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                   '
                   Home Office                      International Criminality Unit
                                                    2nd Floor Peel
                                                    2 Marsham Street
                                                    London
                                                    SW1P 4DF
                                                                                   T +44 (0)20 7035 4040
                                                                                   F +44 (0)20 7035 6986

                                                                                   www.gov.uk/government/
                                                                                   organisations/home-
                                                                                   office


                Department of Justice
                Criminal Division                                                   UKCA Ref:   I1088700US
                Office of International Affairs
                1301 New York Avenue NW
                Washington DC 20005                                                 Your Ref:   182-53177
                USA        •

                13 December 2017

                Dear Sir/Madam

                LETTER OF ~EQUEST FOR LEGAL ASSISTANCE IN THE MATTER OF MICHAEL
                RICHARD LYNCH & OTHERS (AUTONOMY CORPORATION)

                I write further to your letter of request dated 29 January 20J 6.

                Please find enclosed hard drive and letter from SFO.

                Please note tha~ this evidence may not be used for any purpose other than that specified
     . ......   In your letter of request. Should you wish to use this evidence for any purpose which was
                not outlined in the original request, you must seek the consent of the UK Central Authority
                in·advance of the material being used for such other purpose.

     r-         Please note that as your request has now been fully executed, we have closed our file in
                relation to this matter.                             •

                If you require any further assistance from UK Centrai Authority.in .relation to this case,
                please send a supplementary letter of request quoting the UK Cerifral AuthorjtY.~ference
                number above.                          •         •                                     - ••

/'              I would be grateful If you would acknowledge receipt of this letter.

                Yours faithfully,



                Deborah Hand
                UK Central Authority
                On behalf of the Secretary of State
                D 0207 035 0691 •       ,
                E deborah.hand@homeoffic~.-gsi:gov.uk
                W www.gov.uk/mutual-legal-assistance-mla-reguests




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                                    ~ SF·                             office •

                                    2-4 Cockspur _Street London SW1Y 58S
                                         Director: David Green ·ce QC




 Private & Confidential
 Deborah Hand
 UKCA                                                                    Your Ref:       I 1088700US
 lnte_rnational Criminality Unit
 Home Office                                                              Our Ref:       MLNUSA/96816
 Peel Building 2nd Floor
 2 Marsham Street
 London SW1P 4DF
                                                                                         13 December 2017


Dear Deborah,

LETTER OF REQUEST FOR LEGAL ASSISTANCE IN THE MATTER OF
MICHAEL RICHARD LYNCH & OTHERS (AUTONOMY CORPORATION)
                                                                  '
I refer to the above letter of request dated 1 May 2016 referred to this Office under section
15 (2) of-the Crime (International Co-operation) Act 2003 by the Secretary of State. I
confirm that evidence has been obtained on behalf of the U.S. authorities.

I enclose the following electronic documents on an encrypted hard drive from Slaughter
& May to be tr13nsmitt~d to the u.s: authorities:
                          .
 Letter of Request reference                          Evidence to be transmitted
 Page6                                                      i- Snapshot of the contents of the
                                                                 1Room before it was.closed down in
                                                                 2013.
                                                            2.   Copies of documents provided by
                                                                 Autonomy officials to Slaughter and
                                                                 May via email for uploading to 1Room
                                                                 in the period 01/07/2011- 31/10/2011 .
                                                            3.   Communications relating to the setting
                                                                 up of the 1Room hosted by Rackspace
                                                                 Managed Hosting Limited.
                                                            4.   Affidavit of Jonathan Cotton of
                                                                 Slaughter and May.
                                                            5.   SFO Letter dated 13 December 2017
                                                                 to the U.S. DOJ.
                                                            6.   Letter dated 20/10/2017 from
                                                                 Slaughter & May to the SFO.


                                             .          .
Please note that the password to the el)crypted hard drive will be given to you by emall.
If you have any queries regarding·the above, please do not hesitate to contact me.




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Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 4 of 10


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                                               SFOI           fraud
                                                              offke

                                   2-4 Cockspur Street London SW1Y 58S
                                        Dlreclor. David Green CB QC




 Yours sincerely,



 Clyde Marklew
 Senior Investigator
 Direct Tel: +44 (0)20 7239 7321
 Email:      clyde.mari<lew{IDsfo.gsi.gov.uk




Switchboard: +44 (0)20 7239 7272                                         www.sfo.gov.uk
DX: 161370 Piccadilly 6




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Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 5 of 10
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                                             SFo I             fraud.
                                                               office

                                   2-4 Cockspur Street London SW1 Y 5BS
                                        Director: David Green CB QC




 Robert Leach
 Trial Attorney            .                                 Your Ref:    DOJ No. 182-41909
 U.S. Department of Justice
 Criminal Division, Fraud Section                             Our Ref:      MLA/USA/01812



                                                                 Date:    13 December 2017


Dear Robert

RE: MICHAEL LYNCH, SUSHOVAN HUSSAIN, STEPHEN CHAMBERLAIN,
ANDREW KANTER AND ANGELA BACARES

I refer to the letter of request dated 2a May 2017 referred to tnis Office under section
15(2) of the Crime (lntematlonal Co-operation) Act 2003 by the Secretary of State for the
Home Office.                                                                  •

We enclose evidence obtained from Slaughter and May. This includes ·one encrypted
hard drive and signed affidavit. The evidence enclosed on the hard drive is detailed in
broad teryns in the atta~hed letter from them dated 20 October 2017:

    1. Snapshot·ofthe contents of the 1Room before it was closed··down in 2013. .
    2. Copies of documents provided by Autonomy officials to Slaughter and May via
       email for uploading to 1Room In the period 01/07/2011..: 31/10/2011.
    3. Communicatio"ns relating to the setting up of the 1Room hosted by Rackspace
       Managed Hosting Limited.


The password for the encrypted electronic material will be sent to you by email.

Please note that we have not conducted a review of this material but have relied on the
description above to identify the content.of the material produced. There does appear to
be personal data included on the hard drive and we expect that you will apply appropriate
safeguards to this mat~rial. Should you find that material. has been omitted please let
me know so that I can take steps to remedy the position. Should you find that Slaughter
& May have provided material that was not within the scope of your letter of request or
is otherwise sensitive or irrelevant, I would be grateful lf you would delete it or otherwise
embargo it and notify me immediately.

Should you have .any further questions regarding this material please do not hesitate to
contact me.            •            •




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Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 6 of 10
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                                             SFO.I            fraud
                                                              office

                                   2-4 Cockspur Street London SW1Y 58S·
                                        Director; David Green CB QC




 Yours sincerely



  r1~
 Clyde Marklew
 Senior Investigator
 International Assistance
 Direct Tel: +44 (0)20 7239 7321
 Email: clyde.marklew@sfo.gsl.gov.uk




switchboard: +44 (0)20 7239 7272                                          www.sro.gov.uk
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Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 7 of 10
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  SLAUGHTER AND MAY                                                                                                          011•! (,1J1 1li•ll Jl,.,w
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 By email and by hand
                                                                                                                            20 October 2011

                                                                                                                           Your ralerance
Serious Fraud Office                                                                                                       • MLA/USN96816
2-4 Cockspur Street                                                                                                        Our reference
London                                                                                                                     JCC/SCHOfTZB
SW1Y5BS                                                                                                                    Direct rine
                                                                                                                           +44 (0)20 7090 4090
For the attention of Clyde Marklew



DE!ar Sirs

lnvestJgatton lnto the affairs of Michael Lynch, Sushoil'an Hussain, Stephen Chamberlain,
Andrew Kantn~r and Angela Bacares

1.            We refer to the notice dated 31 Au.gust 2017 and issued under Section 2 of llie Crfmlna1
              Justi.ce Act 1987 requiring S!augh~er and May (the "Firm") to produce certain documents
              to you for onward production to the United States Department of Justlce (the •Notice").

2.            We also refer to the communications between you and \his Firm regarding the scope of
              the Notice and timing for our response, Including our email of 18 July 2017 (Cotton), your
              email (Marldew) of 28 September 2017, our email {Cotton) of 6 October 2017, and your
              email (Merklew) of the same date.

3.            We have gathered information to respond to the requests through the use of electronic
              searches using key words and other methods.

Reguest1

4.            As discussed, there is no pre-exlstlnQ list of documents uploaded to the 1Rooni.
              However, as agreed, piease see the folde.r entitled 'Request 1' on the USS drive entitled
              'Slaughter and May's response to the SFO's Notice dated 31 August 201r for caples of all
              documents we believe were located oh the 1Room as at June 2013.

5.            By way of background, we understand that access to the 1Room for Individuals extemal
              to this Firm was deactivated on 19 September 2011 . In November 2012, access to the
              1Room forthls Firm's deal team was deactivated. In June 2013, the external server on
              v,,hich the 1Room was hosted VJas closed down. Prior to closure, a copy of the contents
              of the 1Room was taken. Please note that the copy therefore represents a snapshot of
              the contents of the 1Room as at June 2013, We understand ~at it was possible for



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       SLAUGHTER AND MAY                                                                           I ui,;11111 I CIY :--:VY
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                documents to be added/removed during the period the 1Room was active and no audit
                trail w~s kept of such additions/removals.

      fl.        Pleas'e see our response to Requests 2 and 3 below, for copies of the docume.nts ••
                 provided to this Firm for upload to the 1Room and the name of the Au~onomy official who
                 ptovided them.               •

       Requests 2 and 3

      7.         Our searches Identified that documents for the data room appear to have been sent to us
                 as attachments to emails and on portable storage devices.

      8.         Please see the folder entitled 'Requests 2 and 3 (A)' on the USB drive entitled 'Slaughter
                 and Mays response to the SFO's Notice dated 31 August 201 r for copies of documents
                 sent to this Firm by Autonomy officials via email for uploading to 1Room in the period 1
                 July 2011 - 31 October 2_ 011 (the "Relevant Period"}.

      9.         As specified in the Notice, we have not provided you any privileged material, such as the
                 emails to which the documents provided by Autonomy officials to this Firm were attli!ched.
                 However, as requested, we have Jdentified the individuals from Autonomy responsible for
                 providing us the documents. With the exception of documents smad001 :00002601; .
                 smad001 ;00002607; and smad001 :00002218, which were provided by Mr Richard Gac,mt,
                 the documents smad001 :00005394; smad001 :00005406; and smad001 :00005429
                 provided by Mr Stephen Chamberlain, all material provided to·this ·Firm by Autonomy was
                 sent by Mr Andrew Kantner.

I .   10.        Please also see the folder entitled 'Requests 2 and 3 (BJ' on the USS drive entitled
                 'Slaughter and May's response to the SFO's Notice dated ~1 August 2017' for copies of
                 all documents sent to this Firm on portable storage devices b'y Mr Andrew Kantner for
                 uploading to the 1Room.

      Reguest4

      11.       Please sea the fol<t~r entitled 'Request if o_n the USB drive entitled 'Slaughter and May's
                response to the SFO's Notice dated 31 August 2017' for copies of all emails between .
                members of thls Firm in the Relevant· P,eriod relaUng to the setting up of the 1Room. As
                previous explained, we understand that the dataroom was branded as·a Slaughter and
                May 1Room•, but was a third party proprietary software product/platform called eRoom7.
                       0



                supplied to the Finn by a company called Documeilturn and hosted for the Firm by
              • RackSpace Managed Hosting Limited.

      12.       Please note that, where appropriate, redactions have been made to privileged material
                contained in the· emails responsiye to Request 4.




      Pago 2/Sertcus Fra~rj Office/20 October 2017




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Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 9 of 10
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  SLAUGHTER AND MAY .                                                                        Or ir: Hu11hHI l<•NI
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 13.        Pl~ase let us kni:iw if you have any questions on any of the above by contacting Jonathan
            Cotton of this flrm.

 Yours falthfUII,'.,




 Page 3/Serio~s Fral.Id Office/20 0Clober-2Q17




                                                                                                                                    USAO 00003600
Case 3:18-cr-00577-CRB Document 217-12 Filed 09/29/23 Page 10 of 10




                              CERTIFICATE OF AUTHENTICITY OF
                                    BUSINESS RECORDS



     1. I, Jonathan Charles Cotton, attest on penalty of criminal punishment for false statement

         or false attestation that I am a Partner of Slaughter and May.


         I further state that each of the records supplied on the USB drive entitled 'Slaughter and

         May's response to the SFO's Notice dated 31 August 2017 Is a duplicate of the original

         of records that I believe were or are in the custody of Slaughter and May.


         l further state that:


         (A)      Such records were kept in the course of a regularly conducted business activity;


         (B)     The business activity made the records as a regular practice; and


         (C)      If any of such records is not the original, such record is a duplicate of the

                  original.




          j,   c... c.vrrov
         Signature                                   Date




    ~
 Sworn to or affirmed before me      -S."1\'<'\f\~I'.\   \-\i:>v.:>\..C:H   (Name), a


  ~::s:8:-;sfo::cc   (Jtb.M         (Commissioner of Oaths, judicial officer etc}, on


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